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                                                                      USDC-SDNY
UNITED STATES DISTRICT COURT                                          DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                         ELECTRONICALLY FILED
                                                                      DOC#:
                                                                      DATE FILED: 4/5/2021
 JOHN DOE,

                              Plaintiff,
                                                                       20-CV-5019 (RA)
                         v.
                                                                            ORDER
 COLUMBIA UNIVERSITY.

                              Defendant.




RONNIE ABRAMS, United States District Judge:

         The Court will hold oral argument via telephonic conference on the pending motion to dismiss

on May 12, 2021 at 2:30 p.m.

         The parties shall use the dial-in information provided below to call in to the conference:

         Call-in Number: (888) 363-4749
         Access Code: 1015508

         This conference line is open to the public. If it is not feasible for the parties to appear

telephonically at that time, they should jointly notify the Court as soon as possible by letter filed on

ECF and include proposed alternative dates for this conference.

SO ORDERED.

Dated:      April 5, 2021
            New York, New York

                                                   Ronnie Abrams
                                                   United States District Judge
